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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MALIBU MEDIA, LLC,                                     No. 4:19-CV-01048

           Plaintiff,                                  (Judge Brann)

     v.

DAVID E. EVERSON,

          Defendant.

                                         ORDER

     AND NOW, this 11th day of January 2021, in accordance with the

accompanying memorandum opinion, IT IS HEREBY ORDERED that:

     1.    Plaintiff’s motion for default judgment (Doc. 18) is GRANTED IN

           PART AND DENIED IN PART.

           a.         The Court awards statutory damages in the amount of $3,000.00

                      to Plaintiff as compensation for Defendant’s infringement of

                      Plaintiff’s four works.

           b.         The Court awards the costs Plaintiff seeks in the amount of

                      $897.78.

           c.         Furthermore, a permanent injunction is entered against Defendant

                      David E. Everson as follows:

                 i.         David E. Everson is permanently enjoined from directly,

                            contributorily, or indirectly infringing Malibu Media,

                            LLC’s rights under federal or state law of the copyrighted
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                  works (the “Works”) at issue in this lawsuit, including,

                  without limiting, by using the internet, BitTorrent, or any

                  other online media distribution system to download,

                  distribute, or otherwise reproduce or make the Works

                  available for distribution to the public, unless pursuant to a

                  lawful license or with Malibu Media LLC’s express

                  authority.

         ii.      David E. Everson is ordered to destroy all copies of Malibu

                  Media, LLC’s Works that Everson has downloaded without

                  Malibu Media, LLC’s authorization and shall destroy

                  copies of the Works in any medium or on any device in

                  Everson’s possession, custody, or control.

2.   The Clerk of Court is directed to: enter judgment in favor of the Plaintiff

     on Count 1 of the Amended Complaint (Doc. 12); mail a copy of the

     Memorandum Opinion and the Order to Defendant at his address listed

     in the executed Summons (Doc. 15); and CLOSE the case.


                                       BY THE COURT:


                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge




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